        Case 3:15-cv-01836-AWT Document 166 Filed 07/07/20 Page 1 of 29



                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT


ROBERT SCOTT BATCHELAR,                        :    Case No. 3:15-cv-01836-AWT
                                               :
                                               :
       Plaintiff,
                                               :
                     v.                        :
                                               :
INTERACTIVE BROKERS, LLC,                      :
INTERACTIVE BROKERS GROUP, INC.,               :
and THOMAS A. FRANK,                           :
                                               :
       Defendants.                             :    July 7, 2020

    DEFENDANTS’ AMENDED ANSWER TO PLAINTIFF’S SECOND AMENDED
     COMPLAINT WITH AFFIRMATIVE DEFENSES AND COUNTERCLAIM

       Defendants Interactive Brokers LLC (“Interactive”), Interactive Brokers Group, Inc., and

Thomas A. Frank (collectively “Defendants”) hereby answer the Second Amended Complaint

and Jury Demand filed by Plaintiff Robert Scott Batchelar (“Plaintiff”) on November 30, 2018

(Dkt. Entry No. 70) as follows:

       1.      Denied. Defendants further deny the allegations in footnote 1 to Paragraph 1.

       2.      Denied.

       3.      Admitted that at the time Plaintiff’s account was liquidated on August 24, 2015,

his account contained only short positions of exclusively one type of contract. Defendants deny

the remaining allegations in Paragraph 3.

       4.      Denied.

       5.      Denied.

       6.      Paragraph 6 contains legal contentions that do not require any response. To the

extent a response is required, Defendants deny the allegations in Paragraph 6. Plaintiff entered

into a Customer Agreement with Interactive, an online brokerage firm that enables clients to

                                                1
         Case 3:15-cv-01836-AWT Document 166 Filed 07/07/20 Page 2 of 29



determine and place their own trades, and opened a margin account. As of the start of trading on

August 24, 2015, Plaintiff’s account consisted solely of a short position of SPX put options.

That morning, Plaintiff’s account registered a margin deficit. Accordingly, Interactive exercised

its express contractual rights under the Customer Agreement to liquidate positions in the account

to address the risk posed by the margin deficiency. Plaintiff’s conclusions are illogical and

ignore the risks of trading short put options. The liquidation algorithm is not flawed, and all of

the liquidation trades were made on a public market and at prices within the national best bid and

offer.

         7.      Paragraph 7 contains legal contentions that do not require any response. To the

extent a response is required, Defendants deny the allegations in Paragraph 7.

                 a.      Paragraph 7(a) contains legal contentions that do not require any response.

         To the extent a response is required, Defendants deny the allegations in Paragraph 7(a).

         Defendants deny knowledge or information sufficient to form a belief concerning

         Plaintiff’s citizenship.

                 b.      Paragraph 7(b) contains legal contentions that do not require any response.

         To the extent a response is required, Defendants deny the allegations in Paragraph 7(b).

                 c.      Paragraph 7(c) contains legal contentions that do not require any response.

         To the extent a response is required, Defendants deny the allegations in Paragraph 7(c).

                 d.      Paragraph 7(d) contains legal contentions that do not require any response.

         To the extent a response is required, Defendants deny the allegations in Paragraph 7(d).

         8.      Defendants admit that Interactive and Interactive Brokers Group, Inc. have their

principal offices and headquarters in the District of Connecticut but deny that Thomas A. Frank

resides in this District. The remaining allegations are legal contentions that do not require any



                                                  2
        Case 3:15-cv-01836-AWT Document 166 Filed 07/07/20 Page 3 of 29



response; to the extent a response is required, Defendants deny the remaining allegations in

Paragraph 8.

       9.      Defendants admit that Plaintiff previously stated to Interactive that he resides at

67 Dunster Drive, Stow, MA 01775. Defendants deny knowledge or information sufficient to

form a belief concerning Plaintiff’s current residential address, his residential address at the time

he commenced this action, or his state of citizenship.

       10.     Admitted (to the extent Paragraph 10 refers to Interactive Brokers LLC).

Defendants add that Interactive is also a citizen of the Commonwealth of Massachusetts for

purposes of determining diversity jurisdiction.

       11.     Defendants deny Plaintiff’s allegation that purports to identify the address for the

registered agent of Defendant Interactive Brokers Group, Inc. Defendants admit the remaining

allegations in Paragraph 11.

       12.     Defendants admit Thomas A. Frank is a natural person who has appeared through

counsel. Defendants deny the remaining allegations in Paragraph 12.

       13.     Admitted. Interactive is a licensed and regulated online securities and commodity

futures broker. Interactive provides electronic trade execution and clearing services to its

customers. Trading in an Interactive customer’s trading account is self-directed by the customer,

or if requested and authorized by the customer, by the customer’s self-selected, outside

independent financial advisor. Interactive’s customers (or their independent financial advisors)

decide on their investment strategy (without solicitation or advice from Interactive) and send

their trading orders to Interactive over the internet. Interactive does not provide financial,

investment, or trading advice to its customers.

       14.     Admitted.



                                                  3
        Case 3:15-cv-01836-AWT Document 166 Filed 07/07/20 Page 4 of 29



       15.     Admitted.

       16.     Denied, except Defendants admit that margin may allow additional leverage in a

brokerage account, that margin is monitored by Interactive, and that when Plaintiff opened his

online trading account at Interactive, he specifically requested the ability to trade on margin.

       17.     Admitted, insofar as Interactive operates proprietary software through which

customers’ orders generally are routed to various market centers, including exchanges.

       18.     Denied, except Defendants admit that Interactive offers to the public, and

provides to its customers, low-cost brokerage services.

       19.     Denied, except Defendants admit that Interactive markets itself as an online

brokerage firm that allows its customers to decide on their own investment strategy and allows

qualified customers to open margin accounts.

       20.     Admitted that there is a contract between Plaintiff and Interactive and that there is

no contract between Plaintiff and either Defendant Interactive Brokers Group, Inc. or Defendant

Thomas A. Frank. Defendants deny the remaining allegations in Paragraph 20.

       21.     Denied, except Defendants admit that Plaintiff was an Interactive customer with a

non-discretionary account. Interactive denies that it took control over Plaintiff’s account.

Plaintiff’s account was liquidated on August 24, 2015, after he failed to add more value to the

account to prevent or cure his margin deficit. In accordance with federal law, exchange rules,

and the brokerage account agreements, Interactive addressed the margin deficit by submitting

closing trades on a public exchange—in other words, Interactive “liquidated” the trading position

in Plaintiff’s account and converted it to cash.

       22.     Denied. Interactive is authorized to liquidate positions in a customer’s account

when the customer fails to prevent or cure a margin deficit. For example, Plaintiff has admitted



                                                   4
        Case 3:15-cv-01836-AWT Document 166 Filed 07/07/20 Page 5 of 29



that his “account registered a margin deficit on the morning of August 24, 2015.” Dkt. No. 32 at

11. This failure to maintain adequate account equity was a breach of Plaintiff’s contractual duty

to monitor his account and maintain sufficient equity to meet margin requirements. No

liquidation would have occurred had Plaintiff met this obligation. Plaintiff did not satisfy his

margin requirement, did not cure his margin deficit, and did not meet his obligation to add funds

to the account to cure the account deficit.

        23.     Denied.

        24.     Admitted.

        25.     Admitted.

        26.     Denied, except Defendants admit that for transactions to close the short SPX put

option position held by Plaintiff, the lower the costs for the closing trades, the better off Plaintiff

would be.

        27.     Paragraph 27 describes definitions that Plaintiff uses in his Second Amended

Complaint, which Defendants do not adopt, and does not include any allegations that require a

response. To the extent a response is required, Defendants deny the allegations in Paragraph 27.

        28.     Admitted that Defendants Interactive and Interactive Brokers Group, Inc. develop

their core software technology internally and generally do not rely on outside vendors for

software development or maintenance. Admitted that Defendants Interactive and Interactive

Brokers Group, Inc. continuously rewrite and upgrade their software. Defendants respectfully

refer the Court to Interactive’s and Interactive Brokers Group, Inc.’s statements regarding their

technology, which speak for themselves, for their full content.




                                                   5
        Case 3:15-cv-01836-AWT Document 166 Filed 07/07/20 Page 6 of 29



       29.      Admitted that Defendants Interactive and Interactive Brokers Group, Inc. have a

steering committee of senior executives that track progress on programming initiatives generally

on a regular basis. Defendants deny the remaining allegations in Paragraph 29.

       30.      Denied, except Defendants admit that various people were responsible for aspects

of the development or coding of the auto-liquidation software used to liquidate Plaintiff’s

account, and that some such individuals reported directly or indirectly to Thomas A. Frank in

August 2015.

       31.      Defendants respectfully refer the Court to the documents described in Paragraph

31 that Interactive Brokers Group, Inc. files publicly with the Securities & Exchange

Commission (“SEC”), including Forms 10-K, 424B5, and ARS, which speak for themselves, and

otherwise deny Plaintiff’s allegations in Paragraph 31.

       32.      Defendants refer the Court to Defendant Interactive Brokers Group, Inc.’s

publicly-filed Form 10-Ks for the fiscal years 2007 through 2018, which speak for themselves,

for their full content, and otherwise deny Plaintiff’s allegations in Paragraph 32.

       33.      Defendants refer the Court to Defendant Interactive Brokers Group, Inc.’s

publicly-filed Form 10-Ks for the fiscal years 2007 through 2018 and accompanying exhibits,

which speak for themselves, for their full content, and otherwise deny Plaintiff’s allegations in

Paragraph 33.

       34.      Denied. Defendants refer the Court to the referenced website page for its

contents, which speak for themselves.

       35.      Admitted that Plaintiff’s margin account was liquidated by Interactive.

Defendants deny the remaining allegations in Paragraph 35, including the allegations

incorporated by reference to Paragraphs 55-62.



                                                 6
        Case 3:15-cv-01836-AWT Document 166 Filed 07/07/20 Page 7 of 29



       36.      Admitted that Interactive determined that Plaintiff’s account had a margin deficit

on August 24, 2015. As Plaintiff has stated, his “account registered a margin deficit on the

morning of August 24, 2015.” Dkt. No. 32 at 11. Defendants deny the remaining allegations in

Paragraph 36, including the allegations incorporated by reference to Paragraphs 55-62.

       37.      Denied, except Defendants admit that software determines if an account’s equity

value has fallen below the relevant margin requirements. When that occurs, the account is in

“margin deficit,” is in violation of its margin requirements under FINRA rules and federal law,

and is subject to immediate liquidation.

       38.      Denied, except Defendants admit that software determines if an account’s equity

value has fallen below the relevant margin requirements. When that occurs, the account is in

“margin deficit,” is in violation of its margin requirements under FINRA rules and federal law,

and is subject to immediate liquidation.

       39.      Denied, except Defendants admit that margin deficiencies and margin calls are

contemplated by regulations. Failure to maintain adequate account equity is a breach of the

customer’s duty to monitor a brokerage account and maintain sufficient equity to meet margin

requirements.

       40.      Admitted that Plaintiff accurately quotes a portion of Section 11(D)(i) of the

Customer Agreement, except for the emphasis and alterations that Plaintiff added, and without

the capitalization used in the Customer Agreement. Defendants respectfully refer the Court to

the Customer Agreement, which is in the record and speaks for itself. Defendants deny the

remaining allegations in Paragraph 40.

       41.      Denied.

       42.      Denied.



                                                 7
        Case 3:15-cv-01836-AWT Document 166 Filed 07/07/20 Page 8 of 29



       43.     Denied.

       44.     Defendants admit that no human conducted the liquidation trades in Plaintiff’s

account on August 24, 2015. Defendants deny the remaining allegations in Paragraph 44,

including the allegations incorporated by reference to Paragraphs 55-62, 66, 69-77, and Exhibit

A to Plaintiff’s Second Amended Complaint.

       45.     Denied, except Defendants admit that during the liquidation of an account to

address a margin violation, Interactive’s system cancels pending trade orders and prevents the

customer from submitting trade orders that worsen or do not address the margin violation.

       46.     Denied, except Defendants admit that during the liquidation of an account to

address a margin violation, Interactive’s system cancels pending trade orders and prevents the

customer from submitting trade orders that worsen or do not address the margin violation.

       47.     Denied.

       48.     Defendants deny that “The exact time of the trades is charted on Exhibit A,

attached hereto and incorporated herein by reference” and note that on August 24, 2015,

Plaintiff’s account consisted solely of a short position of SPX put options. Defendants admit the

remaining allegations in Paragraph 48.

       49.     Denied.

       50.     Paragraph 50 contains allegations about the parties’ rights and obligations under

Regulation T and FINRA Rule 4210, which are legal contentions that do not require any

response. To the extent a response is required, Defendants deny the allegations in Paragraph 50.

       51.     Paragraph 51 contains legal contentions that do not require any response. To the

extent a response is required, Defendants refer the Court to FINRA Rule 4210(g)(10) and 12

C.F.R. § 220.4(c)(1), which speak for themselves, for their full contents.



                                                 8
        Case 3:15-cv-01836-AWT Document 166 Filed 07/07/20 Page 9 of 29



        52.     Interactive admits that it had the right, but did not have a contractual or regulatory

obligation, to liquidate Plaintiff’s account on August 24, 2015, and admits that it decided how to

design and implement its margin systems. Defendants deny the remaining allegations in

Paragraph 52.

        53.     Denied, except Defendants admit that during an automatic liquidation, software

operated by Interactive’s systems executes trades in customers’ accounts in order to address

margin violations.

        54.     Defendants admit that Plaintiff’s account was in margin deficit on the morning of

August 24, 2015, and that Interactive liquidated Plaintiff’s account by purchasing option

contracts that closed out Plaintiff’s short position in those option contracts. Defendants deny the

remaining allegations in Paragraph 54.

        55.     Defendants deny the allegations in Paragraph 55, except admit that Plaintiff’s

account was liquidated on August 24, 2015, and that the precise details of the liquidation are

reflected in the documents previously produced by Defendants to Plaintiff during discovery in

this action.

        56.     Defendants admit that Plaintiff’s account was liquidated on August 24, 2015, that

the precise details of the liquidation are reflected in the documents previously produced by

Defendants to Plaintiff during discovery in this action, that the highest price at which a trade was

executed during the liquidation of Plaintiff’s account on August 24, 2015, was $83.40 per

contract, and that a lower trade price, if available, would have resulted in a lower debt for

Interactive. Defendants deny the remaining allegations in Paragraph 56, including the

allegations incorporated by reference to Paragraphs 55-62, 66, 69-76, and Exhibit A to Plaintiff’s

Second Amended Complaint.



                                                  9
       Case 3:15-cv-01836-AWT Document 166 Filed 07/07/20 Page 10 of 29



       57.     Denied.

       58.     Defendants have insufficient information to admit or deny the allegations in

Paragraph 58, and Defendants therefore deny the allegations in Paragraph 58.

       59.     Denied.

       60.     Defendants have insufficient information to admit or deny the allegations in

Paragraph 60, and Defendants therefore deny the allegations in Paragraph 60.

       61.     Denied.

       62.     Denied.

       63.     Defendants respectfully refer the Court to the complaint made, but deny the

allegations set forth in Paragraph 63.

       64.     Denied.

       65.     Admitted that Defendants have never made the claim described by Plaintiff in the

first sentence of Paragraph 65, but Defendants deny any assertions implied by Plaintiff in that

sentence. Interactive exercised its express contractual rights under the Customer Agreement to

liquidate positions in Plaintiff’s account to address the risk posed by the margin deficiency.

Defendants deny the remaining allegations in Paragraph 65.

       66.     Denied.

       67.     Admitted that the software that Interactive uses to liquidate customer accounts

upon margin deficit is within the possession and control of Interactive; the software has been

made available to Plaintiff for review since July 30, 2019. Defendants deny the remaining

allegations in Paragraph 67.

       68.     Defendants have insufficient information to admit or deny the allegations about

the information and documents to which Plaintiff and “Plaintiff’s experts” have access, and



                                                10
       Case 3:15-cv-01836-AWT Document 166 Filed 07/07/20 Page 11 of 29



Defendants therefore deny the allegations in Paragraph 68. As stated above, the software has

been made available to Plaintiff for review since July 30, 2019.

       69.     The allegations in Paragraph 69 are legal contentions that do not require any

response. To the extent a response is required, Defendants deny the allegations in Paragraph 69.

       70.     Denied.

       71.     Denied.

       72.     Denied.

       73.     Denied.

       74.     Denied. Defendants further deny the allegations in footnote 3 to Paragraph 74.

       75.     Denied. Defendants further deny the allegations in footnote 4 to Paragraph 75.

       76.     Denied.

       77.     Denied.

       78.     Denied.

       79.     Defendants have insufficient information to admit or deny the supposed “third-

party market price[s]” that Plaintiff alleges in Paragraph 79, and Defendants therefore deny the

allegations in Paragraph 79. Plaintiff was not damaged by Defendants.

       80.     Denied.

       81.     Denied.

       82.     Denied.

       83.     Admitted that Defendants have never made the claim described by Plaintiff in

Paragraph 83, but Defendants deny any assertions implied by Plaintiff in the paragraph.

Interactive exercised its express contractual rights under the Customer Agreement to liquidate

positions in the account to address the risk posed by the margin deficiency.



                                                11
       Case 3:15-cv-01836-AWT Document 166 Filed 07/07/20 Page 12 of 29



        84.     Defendants admit that Defendants have access to Interactive’s records of

Plaintiff’s trading at Interactive, the records of the liquidation of Plaintiff’s account at

Interactive, and the records of Plaintiff’s complaint to Interactive about the liquidation of his

account. Defendants deny the remaining allegations in Paragraph 84.

        85.     Denied.

        86.     Admitted that the software is designed, coded, developed, tested, and maintained

through various employees of Interactive, some of whom directly or indirectly report to Thomas

A. Frank.

        87.     Admitted that Defendant Thomas A. Frank is the Chief Information Officer and

Executive Vice President of Defendant Interactive Brokers Group, Inc. Defendants deny the

remaining allegations in Paragraph 87. Various people were responsible for aspects of the

development or coding of the auto-liquidation software used to liquidate Plaintiff’s account, and

some such individuals reported directly or indirectly to Thomas A. Frank in August 2015.

        88.     Admitted that Defendant Thomas A. Frank knew at the time Plaintiff’s account

was liquidated that Interactive used software in a number of ways, including to liquidate

customers’ margin accounts to address margin violations. Defendants deny the remaining

allegations in Paragraph 88.

        89.     Denied.

        90.     Denied.

        91.     Denied.

        92.     Denied.

        93.     Denied.

        94.     Denied.



                                                  12
       Case 3:15-cv-01836-AWT Document 166 Filed 07/07/20 Page 13 of 29



       95.     Denied, except Defendants admit that the software used to liquidate Plaintiff’s

account was in the exclusive custody and control of Defendants Interactive Brokers Group, Inc.

and Interactive at the time of the liquidation on August 24, 2015.

       96.     Denied. To the extent Plaintiff relies on the Summary Order dated September 26,

2018, issued in this case by the United States Court of Appeals for the Second Circuit (the

“Summary Order”), Defendants refer the Court to the full contents of that Summary Order,

which speaks for itself, and deny Plaintiff’s characterization of the Summary Order.

       97.     Paragraph 97 does not set forth any contentions for Defendants to admit or deny;

thus, no response is required.

       98.     Denied. To the extent Plaintiff relies on the Summary Order, Defendants refer the

Court to the full contents of that Summary Order, which speaks for itself, and deny Plaintiff’s

characterization of the Summary Order.

       99.     Denied. Interactive performed all of its obligations to Plaintiff.

       100.    The allegations in Paragraph 100 are legal contentions that do not require any

response. To the extent a response is required, Defendants deny the allegations in Paragraph

100.

       101.    The allegations in Paragraph 101 are legal contentions that do not require any

response. To the extent a response is required, Defendants deny the allegations in Paragraph

101.

       102.    The allegations in Paragraph 102 are legal contentions that do not require any

response. To the extent a response is required, Defendants deny the allegations in Paragraph

102. To the extent Plaintiff relies on the Summary Order, Defendants refer the Court to the full




                                                13
       Case 3:15-cv-01836-AWT Document 166 Filed 07/07/20 Page 14 of 29



contents of that Summary Order, which speaks for itself, and deny Plaintiff’s characterization of

the Summary Order.

       103.    The allegations in Paragraph 103 are legal contentions that do not require any

response. To the extent a response is required, Defendants deny the allegations in Paragraph

103. To the extent Plaintiff relies on the Summary Order, Defendants refer the Court to the full

contents of that Summary Order, which speaks for itself, and deny Plaintiff’s characterization of

the Summary Order.

       104.    Denied, except that Defendants admit that the organizations that Plaintiff

identifies in Paragraph 104 publish software standards, although Defendants do not admit that

such standards have any legal relevance to this action.

       105.    The allegations in Paragraph 105 are legal contentions that do not require any

response. To the extent a response is required, Defendants deny the allegations in Paragraph

105.

       106.    Admitted, except that Defendants do not admit that the best practices identified by

Plaintiff in Paragraph 106 have any legal relevance to this action.

       107.    The allegations in Paragraph 107 are legal contentions that do not require any

response. To the extent a response is required, Defendants deny the allegations in Paragraph

107.

       108.    Admitted that Interactive has a procedure for trade errors and that exchanges have

procedures and rules for seeking rescission or adjustment of trades. Defendants have insufficient

information to admit or deny the remaining allegations concerning the policies and procedures of

“all” other brokers; thus, Defendants deny the remaining allegations in Paragraph 108.

       109.    Denied.



                                                14
       Case 3:15-cv-01836-AWT Document 166 Filed 07/07/20 Page 15 of 29



       110.    The allegations in Paragraph 110 are legal contentions that do not require any

response. To the extent a response is required, Defendants state that the Second Amended

Complaint speaks for itself as to Plaintiff’s request, and deny that Plaintiff has any right to the

declaratory relief requested in Paragraph 110.

       111.    The allegations in Paragraph 111 are legal contentions that do not require any

response. To the extent a response is required, Defendants state that the Second Amended

Complaint speaks for itself as to Plaintiff’s request, deny the allegations set forth in Paragraph

111, and deny that Plaintiff has any right to the injunctive relief requested in Paragraph 111.

       112.    The allegations in Paragraph 112 are legal contentions that do not require any

response. To the extent a response is required, Defendants state that the Second Amended

Complaint speaks for itself as to Plaintiff’s class allegations, and deny that Plaintiff may proceed

as representative of the proposed class.

       113.    The allegations in Paragraph 113 are legal contentions that do not require any

response. To the extent a response is required, Defendants state that the Second Amended

Complaint speaks for itself as to Plaintiff’s class allegations, and deny that the proposed class

may be certified.

       114.    The allegations in Paragraph 114 are legal contentions that do not require any

response. To the extent a response is required, Defendants state that the Second Amended

Complaint speaks for itself as to Plaintiff’s class allegations, and deny that the proposed class

may be certified.

               A.      The allegations in Paragraph 114A are legal contentions that do not

       require any response. To the extent a response is required, Defendants state that the




                                                 15
Case 3:15-cv-01836-AWT Document 166 Filed 07/07/20 Page 16 of 29



Second Amended Complaint speaks for itself as to Plaintiff’s class allegations, and deny

that the proposed class may be certified.

       B.      The allegations in Paragraph 114B are legal contentions that do not

require any response. To the extent a response is required, Defendants state that the

Second Amended Complaint speaks for itself as to Plaintiff’s class allegations, and deny

that the proposed class may be certified.

       C.      The allegations in Paragraph 114C are legal contentions that do not

require any response. To the extent a response is required, Defendants state that the

Second Amended Complaint speaks for itself as to Plaintiff’s class allegations, and deny

that the proposed class may be certified.

       D.      The allegations in Paragraph 114D are legal contentions that do not

require any response. To the extent a response is required, Defendants state that the

Second Amended Complaint speaks for itself as to Plaintiff’s class allegations, and deny

that the proposed class may be certified.

       E.      The allegations in Paragraph 114E are legal contentions that do not require

any response. To the extent a response is required, Defendants state that the Second

Amended Complaint speaks for itself as to Plaintiff’s class allegations, and deny that the

proposed class may be certified.

       F.      The allegations in Paragraph 114F are legal contentions that do not require

any response. To the extent a response is required, Defendants state that the Second

Amended Complaint speaks for itself as to Plaintiff’s class allegations, and deny that the

proposed class may be certified.




                                        16
       Case 3:15-cv-01836-AWT Document 166 Filed 07/07/20 Page 17 of 29



              G.      The allegations in Paragraph 114G are legal contentions that do not

       require any response. To the extent a response is required, Defendants state that the

       Second Amended Complaint speaks for itself as to Plaintiff’s class allegations, and deny

       that the proposed class may be certified.

              H.      The allegations in Paragraph 114H are legal contentions that do not

       require any response. To the extent a response is required, Defendants state that the

       Second Amended Complaint speaks for itself as to Plaintiff’s class allegations, and deny

       that the proposed class may be certified.

       115.   The allegations in Paragraph 115 are legal contentions that do not require any

response. To the extent a response is required, Defendants deny the allegations in Paragraph

115.

       116.   The allegations in Paragraph 116 are legal contentions that do not require any

response. To the extent a response is required, Defendants deny the allegations in Paragraph

116.

       117.   The allegations in Paragraph 117 are legal contentions that do not require any

response. To the extent a response is required, Defendants deny the allegations in Paragraph

117.

       118.   The allegations in Paragraph 118 are legal contentions that do not require any

response. To the extent a response is required, Defendants deny the allegations in Paragraph

118.

              A.      Defendants have insufficient information to admit or deny the allegations

       in Paragraph 118A, and Defendants therefore deny the allegations in Paragraph 118A.




                                               17
       Case 3:15-cv-01836-AWT Document 166 Filed 07/07/20 Page 18 of 29



              B.      Defendants have insufficient information to admit or deny the allegations

       in Paragraph 118B, and Defendants therefore deny the allegations in Paragraph 118B.

              C.      Defendants have insufficient information to admit or deny the allegations

       in Paragraph 118C, and Defendants therefore deny the allegations in Paragraph 118C.

              D.      Defendants have insufficient information to admit or deny the allegations

       in Paragraph 118D, and Defendants therefore deny the allegations in Paragraph 118D.

              E.      Defendants have insufficient information to admit or deny the allegations

       in Paragraph 118E, and Defendants therefore deny the allegations in Paragraph 118E.

       119.   The allegations in Paragraph 119 are legal contentions that do not require any

response. To the extent a response is required, Defendants deny the allegations in Paragraph

119.

              A.      The allegations in Paragraph 119A are legal contentions that do not

       require any response. To the extent a response is required, Defendants deny the

       allegations in Paragraph 119A.

              B.      Admitted that as of the date of this Answer, there are no other pending

       certified class actions concerning the controversy at issue or the claims asserted in this

       case applicable to the Plaintiff or the putative class members set forth against Defendants

       in Plaintiff’s Second Amended Complaint.

              C.      The allegations in Paragraph 119C are legal contentions that do not

       require any response. To the extent a response is required, Defendants deny the

       allegations in Paragraph 119C.




                                                18
       Case 3:15-cv-01836-AWT Document 166 Filed 07/07/20 Page 19 of 29



                D.     The allegations in Paragraph 119D are legal contentions that do not

        require any response. To the extent a response is required, Defendants deny the

        allegations in Paragraph 119D.

                E.     The allegations in Paragraph 119E are legal contentions that do not require

        any response. To the extent a response is required, Defendants deny the allegations in

        Paragraph 119E.

        120.    The allegations in Paragraph 120 are legal contentions that do not require any

response. To the extent a response is required, Defendants deny the allegations in Paragraph

120.

                 DEFENDANTS’ RESPONSE TO PLAINTIFF’S “PRAYER”

        1.      Defendants request that the Court deny Plaintiff’s prayer “[f]or judgment for all

losses and damages that have been, or will be, sustained.”

        2.      Defendants request that the Court deny Plaintiff’s prayer for “[a]ctual damages.”

        3.      Defendants request that the Court deny Plaintiff’s prayer “[f]or reasonable

attorneys’ fees and costs.”

        4.      Defendants request that the Court deny Plaintiff’s prayer “[f]or the requested

declaration.”

        5.      Defendants request that the Court deny Plaintiff’s prayer “[f]or the requested

injunctive relief.”

        6.      Defendants request that the Court deny Plaintiff’s prayer “[f]or such other and

further relief and the Court deems just and equitable.”

        7.      Defendants request that the Court deny Plaintiff’s demand for “trial by jury.”




                                                 19
       Case 3:15-cv-01836-AWT Document 166 Filed 07/07/20 Page 20 of 29



       8.      Defendants request that the Court enter a judgment dismissing Plaintiff’s Second

Amended Complaint in its entirety.



                                  AFFIRMATIVE DEFENSES

       1.      Plaintiff’s Second Amended Complaint should be dismissed in favor of

arbitration, and the Court should enter an order compelling Plaintiff to arbitrate this action,

pursuant to the arbitration agreement in Section 33 of the Customer Agreement between Plaintiff

and Interactive.

       2.      Plaintiff’s Second Amended Complaint should be dismissed for lack of subject

matter jurisdiction because there was no diversity of citizenship between Plaintiff and Defendant

Thomas A. Frank or Defendant Interactive at the time Plaintiff commenced this action, and

because Plaintiff cannot demonstrate that the jurisdictional requirements of the Class Action

Fairness Act are satisfied. Specifically, as of December 18, 2015, when Plaintiff commenced

this action, for purposes of diversity jurisdiction: (a) Defendant Interactive was a citizen of

Massachusetts, among other states; (b) Defendant Interactive Brokers Group, Inc. was a citizen

of Connecticut and Delaware; and (c) Defendant Thomas A. Frank was a citizen of

Massachusetts.

       3.      Defendants’ actions were not the proximate cause of any of Plaintiff’s financial

losses or any other damages alleged.

       4.      Some or all of the damages that Plaintiff seeks are barred by the doctrine(s) of

contributory negligence, comparative negligence, and/or comparative fault.

       5.      Plaintiff has waived his right to collect some or all of the damages he seeks

pursuant to Section 27 of the Customer Agreement.



                                                 20
       Case 3:15-cv-01836-AWT Document 166 Filed 07/07/20 Page 21 of 29



       6.      Plaintiff’s claims are barred by the limitation of liability provisions and warranty

disclaimers that Plaintiff agreed to in the Customer Agreement.

       7.      Plaintiff did not satisfy his margin requirements, did not cure his margin deficit,

and did not meet his obligation to add funds to the account to cure the account deficit. Thus,

Plaintiff was in default of his obligations and is barred from recovery in this action.

       8.      Plaintiff is responsible for his own loss because he engaged in self-directed

trading.

       9.      Plaintiff is responsible for his own loss because he entered into the Customer

Agreement and authorized Interactive to liquidate positions in his account, at Interactive’s

discretion and in any manner Interactive chooses, without providing notice to Plaintiff, should

Plaintiff’s account fail to comply with applicable margin requirements.

       10.     Plaintiff agreed when he entered into the Customer Agreement to be liable for all

losses associated with liquidations in his account and agreed to hold Interactive harmless for all

losses and costs associated with liquidations.

       11.     Interactive has incurred damages due to Plaintiff’s conduct, and any damages

owed by Defendants are offset by the amounts owed by Plaintiff to Interactive.



            COUNTERCLAIM BY DEFENDANT INTERACTIVE BROKERS LLC

   (By Interactive Brokers LLC Against Robert Scott Batchelar for Declaratory Relief)

       1.      Interactive Brokers LLC (hereinafter “Interactive”) asserts a counterclaim for

breach of contract against Robert Scott Batchelar (hereinafter “Batchelar”) to collect a current

unpaid negative balance in his margin account of (-) $75,244.88, inclusive of unpaid fees and

charges, which Batchelar owes to Interactive pursuant to the Customer Agreement between



                                                 21
       Case 3:15-cv-01836-AWT Document 166 Filed 07/07/20 Page 22 of 29



them. Interactive seeks a judgment declaring the mandatory arbitration provisions of the

Customer Agreement valid and enforceable and compelling Batchelar to arbitrate this

counterclaim.

                                               Parties

       2.       Defendant-Counterclaim Plaintiff Interactive Brokers LLC is a limited liability

company formed in the State of Connecticut with its principal place of business at One Pickwick

Plaza, Greenwich, Connecticut 06830. One of Interactive Brokers LLC’s states of citizenship is

the Commonwealth of Massachusetts.

       3.       Plaintiff-Counterclaim Defendant Robert Scott Batchelar is an individual and a

former customer of Interactive. Batchelar has alleged that he is a citizen of the Commonwealth

of Massachusetts.

                                      Jurisdiction and Venue

       4.       If the Court exercises jurisdiction over Plaintiff’s claim pursuant to the Class

Action Fairness Act, then the Court has jurisdiction over this counterclaim pursuant to 28 U.S.C.

§ 1367, the doctrine of pendent jurisdiction, and 28 U.S.C. § 2201.

       5.       Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(2) because a

substantial part of the events giving rise to this counterclaim occurred in the District of

Connecticut and because Batchelar agreed in Section 32(A) of his Customer Agreement with

Interactive that “Courts of Connecticut shall have exclusive jurisdiction over disputes relating to

this Agreement, except when arbitration is provided.”

                                        Statement of Facts

       6.       Batchelar entered into a Customer Agreement with Interactive that governed the

relationship between Batchelar and Interactive, including, among other things, Batchelar’s and



                                                 22
        Case 3:15-cv-01836-AWT Document 166 Filed 07/07/20 Page 23 of 29



Interactive’s respective rights and obligations related to Batchelar’s margin account with

Interactive.

        7.     Batchelar electronically signed the Customer Agreement on or about August 19,

2011.

        8.     The Customer Agreement is a binding and enforceable contract between

Batchelar and Interactive.

        9.     As part of the Customer Agreement, Batchelar agreed that: (i) it is his obligation

to monitor his account and ensure that applicable margin requirements are met at all times, and

(ii) if his account falls below its margin requirements, Interactive has the right (in its sole

discretion) to liquidate any and all positions in his account immediately, without notice or

margin call.

        10.    Specifically, Section 11(B) of the Customer Agreement states:

               Requirement to Maintain Sufficient Margin Continuously:
               Margin transactions are subject to initial and maintenance margin
               requirements of exchanges, clearinghouses and regulators and also
               to any additional margin requirement of IB, which may be greater
               (“Margin Requirements”). IB MAY MODIFY MARGIN
               REQUIREMENTS FOR ANY OR ALL CUSTOMERS FOR
               ANY OPEN OR NEW POSITIONS AT ANY TIME, IN IB’S
               SOLE DISCRETION. Customer shall monitor his, her or its
               account so that at all times the account contains sufficient equity to
               meet Margin Requirements. IB may reject any order if the account
               has insufficient equity to meet Margin Requirements, and may
               delay processing any order while determining margin status.
               Customer shall maintain, without notice or demand, sufficient
               equity at all times to continuously meet Margin Requirements.
               Formulas for calculating Margin Requirements on the IB website
               are indicative only and may not reflect actual Margin
               Requirements. Customer must at all times satisfy whatever Margin
               Requirement is calculated by IB.




                                                  23
          Case 3:15-cv-01836-AWT Document 166 Filed 07/07/20 Page 24 of 29



(Emphasis in original.)1

          11.    As part of the Customer Agreement, Batchelar expressly agreed that Interactive

did not have an obligation to issue margin calls prior to liquidating positions in his account, and

he also agreed that Interactive was authorized to liquidate account positions, without notice, to

satisfy margin requirements for his account:

                 IB Will Not Issue Margin Calls: IB does not have to notify
                 Customer of any failure to meet Margin Requirements prior to
                 IB exercising its rights under this Agreement. Customer
                 acknowledges that IB generally will not issue margin calls;
                 generally will not credit Customer’s account to meet intraday
                 or overnight margin deficiencies; and is authorized to liquidate
                 account positions in order to satisfy Margin Requirements
                 without prior notice.

Section 11(C) of the Customer Agreement (emphasis in original).

          12.    Batchelar further agreed that Interactive would have sole discretion to decide

whether and how to liquidate his margin account. Section 11(D)(i) of the Customer Agreement

states:

                 IF AT ANY TIME CUSTOMER’S ACCOUNT HAS
                 INSUFFICIENT EQUITY TO MEET MARGIN
                 REQUIREMENTS OR IS IN DEFICIT, IB HAS THE
                 RIGHT, IN ITS SOLE DISCRETION, BUT NOT THE
                 OBLIGATION, TO LIQUIDATE ALL OR ANY PART OF
                 CUSTOMER’S POSITIONS IN ANY OF CUSTOMER’S IB
                 ACCOUNTS, INDIVIDUAL OR JOINT, AT ANY TIME AND
                 IN ANY MANNER AND THROUGH ANY MARKET OR
                 DEALER, WITHOUT PRIOR NOTICE OR MARGIN CALL
                 TO CUSTOMER. CUSTOMER SHALL BE LIABLE AND
                 WILL PROMPTLY PAY IB FOR ANY DEFICIENCIES IN
                 CUSTOMER’S ACCOUNT THAT ARISE FROM SUCH
                 LIQUIDATION OR REMAIN AFTER SUCH
                 LIQUIDATION. IB HAS NO LIABILITY FOR ANY LOSS
                 SUSTAINED BY CUSTOMER IN CONNECTION WITH
                 SUCH LIQUIDATIONS (OR IF THE IB SYSTEM DELAYS

1
          The term “IB” as used in the Customer Agreement and the Disclosure of Risks of Margin
          Trading refers to Defendant-Counterclaim Plaintiff Interactive Brokers LLC.

                                                 24
       Case 3:15-cv-01836-AWT Document 166 Filed 07/07/20 Page 25 of 29



               EFFECTING, OR DOES NOT EFFECT, SUCH
               LIQUIDATIONS) EVEN IF CUSTOMER RE-
               ESTABLISHES ITS POSITION AT A WORSE PRICE.

(Emphasis in original).

       13.     As described in Section 11(D)(i) of the Customer Agreement, Batchelar agreed

that he would be liable for any deficiency in his margin account after a liquidation.

       14.     Furthermore, Section 11(A) of the Customer Agreement states, “Risk of Margin

Trading: Margin trading is highly risky and may result in a loss of funds greater than

Customer has deposited in the account. Customer represents that he or she has read the

‘Disclosure of Risks of Margin Trading’ provided separately by IB.” (Emphasis in original.)

       15.     Batchelar received the Disclosure of Risks of Margin Trading referenced in

Section 11(A) of the Customer Agreement.

       16.     The Disclosure of Risks of Margin Trading includes the following warning:

               When you purchase securities, you may pay for the securities in
               full or you may borrow part of the purchase price from IB. If you
               choose to borrow funds from IB, you will open a margin account
               with the firm. The securities purchased are IB’s collateral for the
               loan to you. If the securities or futures contracts in your account
               decline in value, so does the value of the collateral supporting your
               loan, and, as a result, IB can take action, such as sell securities or
               other assets in any of your accounts held with IB or issue a margin
               call, in order to maintain the required equity in the account.

       17.     In addition, Section 33 of the Customer Agreement, entitled “Mandatory

Arbitration,” provides in part, “ALL PARTIES TO THIS AGREEMENT ARE GIVING UP

THE RIGHT TO SUE EACH OTHER IN COURT, INCLUDING THE RIGHT TO A

TRIAL BY JURY, EXCEPT AS PROVIDED BY THE RULES OF THE ARBITRATION

FORUM IN WHICH A CLAIM IS FILED.” (Emphasis in original.) The remainder of

Batchelar’s and Interactive’s arbitration agreement is contained in Section 33 of the Customer

Agreement.

                                                25
         Case 3:15-cv-01836-AWT Document 166 Filed 07/07/20 Page 26 of 29



         18.   On August 24, 2015, Batchelar failed to ensure that his margin account was in

compliance with all applicable margin requirements that existed as of that time.

         19.   Batchelar was logged into his margin account with Interactive on the morning of

August 24, 2015, prior to the time when Interactive liquidated his margin account.

         20.   Interactive sent Batchelar an electronic notification indicating that his margin

account was not in compliance with the then-existing margin requirements for the account.

         21.   Batchelar did not add any assets or liquidate any positions in his margin account

to bring it into compliance with the then-existing margin requirements for the account.

         22.   To address the margin violation in Batchelar’s margin account, Interactive

liquidated the account pursuant to the terms of the Customer Agreement and as allowed by law.

         23.   As a result of this liquidation, Batchelar’s margin account currently has a negative

balance of (-) $75,244.88, which he owes to Interactive.

         24.   Batchelar has not paid Interactive any portion of the negative balance referenced

above.

         25.   Batchelar explicitly agreed, as part of the Customer Agreement, to reimburse

Interactive for the cost, including attorneys’ fees, of collecting any negative balance in his

margin account. In particular, Batchelar agreed as follows:

               Account Deficits: If a cash account incurs a deficit, margin interest
               rates will apply until the balance is repaid, and IB has the right, but
               not the obligation, to treat the account as a margin account.
               Customer agrees to pay reasonable costs of collection for any
               unpaid Customer deficit, including attorneys’ and collection
               agent fees.

Section 22 of the Customer Agreement (emphasis in original).




                                                 26
        Case 3:15-cv-01836-AWT Document 166 Filed 07/07/20 Page 27 of 29



                                 COUNTERCLAIM COUNT I

        (Declaratory Relief or, Alternatively, Breach of Contract Seeking Damages)

        26.    Interactive re-alleges and incorporates by reference each and every allegation

contained in Paragraphs 1 through 25 of this counterclaim as if fully included herein.

        27.    The Customer Agreement is a valid and binding contract between Interactive and

Batchelar.

        28.    Interactive fully performed all of its obligations under the Customer Agreement,

including its obligations as of the time it liquidated Batchelar’s margin account on August 24,

2015.

        29.    Batchelar breached the Customer Agreement by failing to comply with all

applicable margin requirements on August 24, 2015, and by failing to repay the negative balance

of (-) $75,244.88 in his margin account that resulted from the liquidation of his account and

subsequent unpaid fees and charges.

        30.    As a result of Batchelar’s breach of the Customer Agreement, Interactive has

suffered damages in at least the amount of $75,244.88, plus interest and attorneys’ fees.

        31.    Batchelar and Interactive agreed as part of the Customer Agreement to arbitrate

all disputes between them.

        WHEREFORE, Interactive demands entry of judgment as follows:

        32.    A declaratory judgment (i) stating that the mandatory arbitration agreement in the

Customer Agreement is valid and enforceable; (ii) compelling the parties to arbitrate

Interactive’s counterclaim for breach of contract; and (iii) granting such other relief as the Court

deems just and proper.




                                                 27
       Case 3:15-cv-01836-AWT Document 166 Filed 07/07/20 Page 28 of 29



       33.    As an alternative to a declaratory judgment, and only if the merits of the claims

alleged in Batchelar’s Second Amended Complaint are litigated in this Court, and without waiver

of the mandatory arbitration provision of the Customer Agreement, Interactive requests:

              a.      Compensatory damages in the amount of $75,244.88;

              b.      Prejudgment interest;

              c.      Attorneys’ fees, costs, and disbursements; and

              d.      Such other relief as the Court deems just and proper.




                                                  Respectfully submitted,

                                              By: /s/ Gary J. Mennitt
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                                              Frank




                                                28
       Case 3:15-cv-01836-AWT Document 166 Filed 07/07/20 Page 29 of 29



                                 CERTIFICATE OF SERVICE

        I hereby certify that on July 7, 2020, a copy of the foregoing was filed electronically and
served by mail on anyone unable to accept electronic filing. Notice of this filing will be sent by
e-mail to all parties by operation of the Court’s electronic filing system or by mail to anyone
unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties may
access this filing through the Court’s CM/ECF System.


                                              /s/ Gary J. Mennitt
                                                   Gary J. Mennitt (CT29948)




                                                29
